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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,                                  CIVIL ACTION NO.:

                            Plaintiff,                     HONORABLE:

vs.

PABLO RIVAS AKA
PAUL RIVAS
                        Defendant,

                                               COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        The United States of America, plaintiff, alleges that:

                                                Jurisdiction

        1.      This court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.

                                                   Venue

        2.      The defendant entered into and signed a Guaranteed Student Loan Promissory Note in the

County of Washtenaw, Michigan, within the jurisdiction of this Court, to borrow money from the United

States of America, a copy of the Promissory Note is attached as Exhibit “A”.

        3.      The defendant is a resident of Clark County, Washington and may be served with service

of process at 1913 Leichner Road Vancouver, WA 98668-5763.


                                  The Debt – Account No. 1999A20438

        4. The debt owed to the United States of America is as follows:

                A. Current Principal (after application of all
                   prior payments, credits, and offsets)                             $1,980.00

                B. Current Capitalized Interest Balance and
                   Accrued Interest                                                  $692.56

                C. Administrative Fee, Costs, Penalties                             $ 87.00

                D. Credits previously applied-Debtor payments                       $638.00
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                 E. Accrued Capitalized Interest since February 1, 1999              $ 886.65


                 Total Owed                                                          $3,008.21

        The Certificate of Indebtedness, attached as Exhibit “B”, shows the total owed excluding

attorney’s fees and CIF charges. The principal balance and interest balance shown on the Certificate of

Indebtedness is correct as the date of the Certificate of Indebtedness after application of all prior

payments, credits and offsets. Prejudgment interest accrues at the rate of 3% per annum.

                                                    Failure to Pay

        5.       Demand has been made upon the defendant for payment of the indebtedness, and the

defendant has neglected and refused to pay the same.

        WHEREFORE, USA prays for judgment:

                 A.      For the sums set forth in paragraph 3 above, plus prejudgment interest through

the date of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28

U.S.C. § 1961 and that interest on the judgment be at the legal rate until paid in full;

                 B.      For attorney’s fees to the extent allowed by law;

                 C.      Filing fee of $350.00 as premitted by 28 U.S.C. § 2412(a)(2); and,

                 D.      For such other relief which the Court deems proper.



                                          Respectfully submitted,

                                      By: /s/ Craig S. Schoenherr, Sr.____________
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